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VIA ECF                                                                        May 9, 2025
Honorable Michael E. Farbiarz
United States District Judge
U.S. Post Office & Courthouse
Newark, New Jersey 07101

        Re:    Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)

Dear Judge Farbiarz:

        Pursuant to this Court’s order at ECF 217, Mr. Khalil writes to respond to the government’s
letter on May 5, 2025 at ECF 230.

I.      This Court Has Subject Matter Jurisdiction Over Mr. Khalil’s Claims.

         This Court should reject the government’s invitation to “reverse course and decline to
accept the amended petition” based on 8 U.S.C. §§ 1252(b)(9), (g). ECF 230 at 2. The government
had an opportunity to express its concerns prior to this Court’s hearing on May 2, when the Court
granted Mr. Khalil’s motion at ECF 223. And this Court has already rejected the government’s
subject matter jurisdiction arguments in its April 29 Opinion. ECF 214.
         The government uses the third amended petition, ECF 236, as an opportunity to relitigate
these rejected arguments, without basis.1 ECF 230. The fact that Mr. Khalil has amended his
petition to incorporate allegations related to the post hoc second removability charge (which
Respondents added to the Notice to Appear after Petitioner filed this lawsuit) does not disturb this
Court’s jurisdiction or prior analysis. As Petitioner wrote in his letter seeking to amend his petition,
the amended petition adds these allegations in the context of Petitioner’s First Amendment claims,
i.e., that the post-hoc charge is “a continuation of the government’s retaliatory conduct in
furtherance of the challenged Policy” and “retaliatory in violation of the First Amendment.” ECF
223 at 1 (emphasis added). This Court has already thoroughly explained why §§ 1252(b)(9), (g)
do not strip habeas jurisdiction over the First Amendment claims here. ECF 214. Whatever
findings an immigration judge may make as to either of the removal charges, it cannot
meaningfully develop the record on First Amendment retaliation or otherwise address the First
Amendment issues at the heart of this case. See ECF 214 at 55 (“[T]he immigration courts could
not meaningfully develop this case, legally or factually. Therefore, the period that might be spent
before those courts will not advance the ball.”); id. at 100 (“The Petitioner says his First
Amendment rights are now being violated. He will lose them and he will keep losing them if he
must wait for federal court review. In the Court’s judgment: he does not have to.”). 2


1 The government incorporated its arguments regarding the post-hoc charge in its opposition to Mr.

Khalil’s motion for a preliminary injunction. ECF 156 at 28– 30.
2 The government cite cases where courts of appeal have reviewed charges of removability under

§ 1227(a)(1)(A) on petitions for review. ECF 230 at 1-2 (citing Sarango v. Att’y Gen. of U.S., 651
F.3d 380, 383 (3d Cir. 2011); Vladimor v. Lynch, 805 F.3d 955, 961 (10th Cir. 2015); Alhuay v.
U.S. Atty. Gen., 661 F.3d 534, 546 (11th Cir. 2011)). But Mr. Khalil is not asking this Court to
determine whether he is removable as charged—he is asking this Court to determine whether the


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         Moreover, the most pressing relief sought by Mr. Khalil in this case is release from
detention on the basis of his First and Fifth Amendment detention claims. None of the jurisdictional
bars cited by the government eliminates habeas jurisdiction over constitutional challenges to
detention, irrespective of what charges are lodged in removal proceedings. Detention does not
“arise from” a decision to commence removal proceedings. See Öztürk v. Hyde, No. 25-1019, --
F.4th--, 2025 WL 1318154 (2d Cir. May 7, 2025), at *9-10 (citing Dep’t of Homeland Sec. v.
Regents of the Univ. of California, 591 U.S. 1, 19 (2020) and Jennings v. Rodriguez, 583 U.S. 281,
294 (2018)). Like Ms. Ozturk, “ICE detained [Mr. Khalil] before an NTA was filed with the
immigration court”3 and “[his] detention was not mandated by the mere fact that [his] case was
under adjudication.” Id. “Construing an independent constitutional challenge to detention as
necessarily implying a challenge to removal would lead to what Jennings called an ‘absurd’ result”
because it would render the petitioner’s detention claim “effectively unreviewable.” Id. at *12
(quoting Jennings, 583 U.S. at 293 (opinion of Alito, J., joined by Roberts, C.J., and Kennedy, J.)).
Notably, the Second Circuit cited this Court’s decision, emphasizing the critical importance of
prioritized First Amendment review.4 Id. The Second Circuit’s decision in Mahdawi v. Trump
further emphasizes these points, refusing to stay his release on bail and observing the important
liberty and First Amendment interests at stake. No. 25-1113 (2d Cir. May 9, 2025).
         The government’s rehashed jurisdictional arguments thus remain unpersuasive. Nothing
prevents this Court from proceeding to review Mr. Khalil’s claims on their merits.

    II.    Venue Lies in New Jersey.

        The government’s venue arguments do nothing for them. The government emphasizes that
the district of confinement rule applies in habeas cases challenging detention, citing several cases
for that unremarkable proposition. ECF 230 at 2. This Court applied the district of confinement
rule, among other rules, to the unique facts of this case after extensive briefing, finding the District
of New Jersey to be the district of confinement at the relevant point in time. ECF 153. The
government sought certification to appeal this order, but the Third Circuit denied their request. See
Khalil v. President of the U.S.A., et al., No. 25-8019 (3d Cir. May 6, 2025), Dkt. No. 22.
        The only new authority that the government cites is Trump v J.G.G., 145 S.Ct. 1003 (2025),
which involves a group of noncitizens detained in Texas who filed a class action in the District of
Columbia challenging their removal under the Alien Enemies Act (“AEA”). The Supreme Court
held that, “because their claims for relief necessarily imply the invalidity of their confinement and
removal under the AEA, their claims fall within the core of the writ of habeas corpus and thus must
be brought in habeas.” Id. at 1005. The Court held that the noncitizens must receive notice and an
opportunity to challenge their removal under the AEA through habeas and that, for such habeas


government has violated the First Amendment (among other claims) through its actions. See Perry
v. Sindermann, 408 U.S. 593, 594-595 (1972) (even if the government can take an adverse action
against a person in the ordinary course, the government cannot take that adverse action “because
of . . . constitutionally protected speech or associations”). The cases cited by the government do
not involve First Amendment challenges and are thus inapposite.
3 Indeed, the post-hoc charge was added many days after his detention and the filing of the NTA.
4 The government did not cite § 1226(e) in its latest letter, but to the extent it continues to rely on

it, § 1226(e) “does not bar jurisdiction over a constitutional challenge to detention under § 1226,”
such as the one raised here. Öztürk, 2025 WL 1318154, at *13.
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challenges, “venue lies in the district of confinement.” Id.at 1006 (emphasis added). J.G.G. thus
underscores why venue lies in this District, given this Court’s habeas jurisdiction ruling. And while
that ruling is not up for debate at this stage—the Third Circuit having declined to take up the
appeal—it is worth noting that the Second Circuit has similarly rejected the government’s
arguments. See Öztürk, 2025 WL 1318154, at *4-6 (likewise applying the district of confinement
rule, the unknown custodian rule, Ex Parte Endo, 28 U.S.C. § 1631, and Fed. R. Civ. P. Rule 15(a)
to hold that the District of Vermont “is likely the proper venue to adjudicate Öztürk’s habeas
petition because, at the time she filed, she was physically in Vermont” and observing that “any
confusion about where habeas jurisdiction resides arises from the government’s conduct during
the twenty-four hours following Öztürk’s arrest”). Ms. Öztürk was ordered released today.
        Finally, the government argues “traditional venue considerations” support a finding that
this Court is an improper venue.5 Mr. Khalil has addressed habeas and traditional venue
considerations in his amended petition, because he preserves his original argument that the
Southern District of New York is a proper venue for this case. If this case were operating in the
world of traditional venue considerations under Braden v. 30th Judicial Circuit Court of Ky., 410
U.S. 484 (1973), then this case would likely have remained in the Southern District of New York
all along, and certainly New Jersey is a far more convenient forum than Louisiana under these
standards.6 At bottom, however, both the district court in the Southern District of New York and
this Court have held the default rules of habeas jurisdiction apply, which means that that venue lies
in this District, where Mr. Khalil was confined, unbeknownst to his counsel, at the time of filing.7


5 Respondents argue in a footnote that “[t]he complexity of the dispute [in Mr. Khalil’s case] also

evidences why these claims are not properly brought in habeas.” ECF 230 2 .2 (citing Dep’t of
Homeland Sec. v. Thuraissigiam, 591 U.S. 103 (2020)). But Thuraissigiam rejected habeas review
in an expedited removal case brought by a noncitizen with no ties to the country seeking initial
entry into the U.S. who did “did not dispute that [his] confinement . . . is lawful” and was instead
seeking a new opportunity to apply for asylum. Id. at 118. In other contexts, like this one,
Thuraissigiam recognizes that “the writ could be invoked by aliens already in the country who
were held in custody pending deportation.” Id. at 137; J.G.G.,145 S.Ct. at 1005 (confirming
availability of the writ to noncitizens challenging detention and removal from the U.S.).
6 Mr. Khalil contests the government’s assertion that “[g]iven Khalil’s detainment in Louisiana,

‘that is the most convenient forum to the parties.’” ECF 230 at 2 (citing Verissima v. I.N.S., 204 F.
Supp. 2d 818 (D.N.J. 2002) and Ivory v. Ebbert, 2016 WL 701655 (M.D. Pa. Dec. 1, 2016)). New
York and New Jersey are far more convenient locations, given that they were the places where Mr.
Khalil was arrested and detained at the commencement of this case and given their closer proximity
to where records, counsel, and witnesses are located (including many individuals who submitted
declarations and letters to this Court). The cases cited by the government support this view, and
actually rejected transfer to the district of present confinement, instead opting for more convenient
locations. See Verissima, 204 F.Supp.2d at 820-821 (transferring case to Massachusetts, where the
petitioner was originally detained and where “all records and witnesses are located,” rather than
Maryland, where he was presently detained); Ivory, 2016 WL 701655 at *3 (transferring case to
Kansas, where petitioner was convicted and sentenced, rather than Colorado, where petitioner was
presently detained).
7 The government asserts that there are “absolutely zero allegations” tying any challenged conduct

to New Jersey. But this is a case challenging physical confinement—which means the core conduct
challenged at the time of filing was detention, which was in New Jersey.
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                                              /s/

 AMERICAN CIVIL LIBERTIES UNION OF NEW        CENTER FOR CONSTITUTIONAL RIGHTS
 JERSEY FOUNDATION                            Baher Azmy
 Jeanne LoCicero                              Samah Sisay*
 Farrin R. Anello                             Diala Shamas*
 Molly K.C. Linhorst                          666 Broadway, 7th Floor
 570 Broad Street, 11th Floor                 New York, NY 10012
 Newark, New Jersey 07102                     Tel: (212) 614-6464
 973-854-1715
                                              CLEAR PROJECT
 NEW YORK CIVIL LIBERTIES UNION               MAIN STREET LEGAL SERVICES, INC.
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 Molly Biklen*                                CUNY School of Law
 125 Broad Street, 19th Floor                 2 Court Square
 New York, N.Y. 10004                         Long Island City, NY 11101
 Tel: (212) 607-3300                          Tel: (718) 340-4558

 AMERICAN CIVIL LIBERTIES UNION               WASHINGTON SQUARE LEGAL SERVICES, INC.
 FOUNDATION                                   Alina Das*
 Omar Jadwat                                  Immigrant Rights Clinic
 Noor Zafar*                                  245 Sullivan Street, 5th Floor
 Sidra Mahfooz*                               New York, New York 10012
 Brian Hauss*                                 Tel: (212) 998-6430
 Esha Bhandari*
 Vera Eidelman*                               DRATEL & LEWIS
 Tyler Takemoto*                              Amy E. Greer
 Brett Max Kaufman*                           29 Broadway, Suite 1412
 125 Broad Street, 18th Floor                 New York, NY 10006
 New York, NY 10004                           Tel: (212) 732-8805
 Tel: (212) 549-2500                          Fax: (212) 571-3792

                                              VAN DER HOUT LLP
                                              Marc Van Der Hout (CA Bar #80778)*
                                              Johnny Sinodis (CA Bar #290402)*
                                              Oona Cahill (CA Bar #354525)*
                                              360 Post St., Suite 800
                                              San Francisco, CA 94108
                                              Tel: (415) 981-3000
                                              Fax: (415) 981-3003

 * Appearing Pro hac vice                     Counsel for Petitioner



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